Case 4:18-cr-00103-ALM-CAN Document 41 Filed 07/03/19 Page 1 of 4 PageID #: 86



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION



UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §            CASE NO. 4:18-CR-103
                                                 §
                                                 §
RICHARD DENVER BELDEN                            §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On June 20, 2019, this case came before the undersigned United States Magistrate Judge for

entry of a guilty plea by Defendant, Richard Denver Belden, to Counts One, Two, and Three of

the Indictment. Count One alleges sometime on or about May 2, 2018, in the Eastern District of

Texas, Defendant, Richard Denver Belden, did knowingly and intentionally commit the offense of

Receipt of Child Pornography, in violation of Title 18 U.S.C. § 2252A(a)(2)(A) and (b)(1).

Count 2 and Count 3 allege sometime on or about May 15, 2018, in the Eastern District of

Texas, Defendant, Richard Denver Belden, did knowingly and intentionally commit the offense of

Possession of Child Pornography, in violation of Title 18 U.S.C. § 2252A(a)(5)(B) and (b)(2).

       Defendant entered a plea of guilty to Counts One, Two, and Three of the Indictment into the

record at the hearing. After conducting the proceeding in the form and manner prescribed by Federal
Case 4:18-cr-00103-ALM-CAN Document 41 Filed 07/03/19 Page 2 of 4 PageID #: 87



Rule of Criminal Procedure 11, the undersigned finds:

         a.     Defendant, after consultation with his attorney, has knowingly, freely, and voluntarily

consented to the administration of the guilty plea in this case by a United States Magistrate Judge

in the Eastern District of Texas subject to a final approval and imposition of sentence by the District

Court;

         b.     Defendant is fully competent and capable of entering an informed plea, Defendant

is aware of the nature of the charges and the consequences of the plea, and the plea of guilty is made

freely, knowingly, and voluntarily. Upon addressing Defendant personally in open court, the

undersigned determines that Defendant’s plea is knowing and voluntary and did not result from

force, threats, or promises (other than the promises set forth in the plea agreement). See FED. R.

CRIM. P. 11(b)(2); and

         c.     Defendant’s knowing and voluntary plea is supported by an independent factual basis

establishing each of the essential elements of the offenses and Defendant realizes that his conduct

falls within the definition of the crimes charged under in violation of Title 18               U.S.C.

2252A(a)(2)(A) and (b)(1) and Title 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) .

                                  STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, Defendant presented a factual basis. See

Factual Basis. In support, Defendant stipulates and agrees that he is one and the same person charged

in the Indictment and that the events described in the Indictment occurred in the Eastern District of

Texas. Defendant stipulates and agrees to each and every essential element of the offenses as alleged

in Counts One, Two, and Three of the Indictment. In support of Defendant’s plea, the undersigned

incorporates the proffer of evidence described in detail in the Factual Basis filed by Defendant in



                                                  -2-
Case 4:18-cr-00103-ALM-CAN Document 41 Filed 07/03/19 Page 3 of 4 PageID #: 88



support of his guilty plea.

       The Government stipulated to the evidence presented in the Factual Basis. Counsel for

Defendant and the Government attested to Defendant’s competency and capability to enter an

informed plea of guilty. Defendant testified that he was entering his guilty plea knowingly,

freely, and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant, which the undersigned determines

to be supported by an independent factual basis establishing each of the essential elements of the

offenses charged in Counts One, Two, and Three of the Indictment. Accordingly, it is further

recommended that Richard Denver Belden be finally adjudged guilty of the charged offenses under

Title 18 U.S.C. § 2252A(a)(2)(A) and (b)(1) and Title 18 U.S.C. § 2252A(a)(5)(B) and (b)(2).

       Defendant is ordered to report to the United States Probation Department for the preparation

of a presentence report. Defendant has the right to allocute before the District Court before

imposition of sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

identify those findings or recommendations to which the party objects, and (3) be served and filed

within fourteen (14) days after being served with a copy of this report, and (4) be no more than eight

(8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule

CV-72(c). A party who objects to this report is entitled to a de novo determination by the United


                                                 -3-
 Case 4:18-cr-00103-ALM-CAN Document 41 Filed 07/03/19 Page 4 of 4 PageID #: 89



  States District Judge of those proposed findings and recommendations to which a specific objection

  is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

         A party’s failure to file specific, written objections to the proposed findings of fact and

  conclusions of law contained in this report, within fourteen (14) days of being served with a copy

  of this report, bars that party from: (1) entitlement to de novo review by the United States District
. Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

  (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

  fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

  Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).
             SIGNED this 3rd day of July, 2019.

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                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE




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